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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


    IN RE: HAIR RELAXER MARKETING                       MDL No. 3060
    SALES PRACTICES AND PRODUCTS
    LIABILITY LITIGATION                                Master Docket No. 1:23-cv-00818

                                                        Hon. Mary M. Rowland

                                                        Hon. Sheila M. Finnegan


                        PLAINTIFFS’ STATUS REPORT REGARDING
                                  LEGACY SYSTEMS

        Pursuant to the Court’s February 17, 2024 minute entry (ECF No. 455), Plaintiffs submit

this update as to the progress on the meet and confers regarding the legacy systems. Plaintiffs

having not heard back from Defendants regarding their position at 11:55 am CT submits this as

Plaintiffs’ status update only.

        Plaintiffs’ position

        Although several of the Parties continue to meet and confer on this issue, Plaintiffs’ overall

position is that the Defendants should be producing this information. Many of the meet and confers

meetings involve the request of additional time by the Defendants to investigate the legacy

systems, or to claim that is the production is too burdensome, without articulating the manner in

which providing the names of the previously used programs is burdensome.

        The Defendants fail to address the names of these legacy programs, which speak directly

to notice.1 Plaintiffs request that this Court set a deadline for the Defendants to provide this


1
  See DR Distributors, LLC v. 21 Century Smoking, Inc., 513 F. Supp. 3d 839, 923 (N.D. Ill. 2021)
(Johnston, J.) (“whole process” of ESI starts with identification, and a plaintiff needs to discover the types
and sources of ESI that a defendant has used to identify or store information); see also Fed. R. Civ. P.
26(b)(2) advisory committee’s note (2006) (producing party must identify “sources containing potentially
responsive information” with “enough detail to enable [the receiving party] to evaluate the burdens and
costs of providing the discovery and the likelihood of finding responsive information on the identified
sources”); Doe LS 340 v. Uber Techs., Inc., No. 23–md-03084, 2024 WL 107929, at *4 (N.D. Cal. Jan. 9,
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information and for a briefing schedule for a short, single brief filed simultaneously by the parties

on each side of the issue, should a defendant chose to note provide the information by the deadline

set.


 Dated: March 4, 2024                                 Respectfully Submitted,

                                                       /s/ Edward A. Wallace
                                                       Edward A. Wallace
                                                       WALLACE MILLER
                                                       150 N. Wacker Dr., Suite 1100
                                                       Chicago, Illinois 60606
                                                       Tel.: 312-261-6193
                                                       Email: eaw@wallacemiller.com

                                                       Plaintiffs’ Liaison Counsel

                                                       Diandra “Fu” Debrosse Zimmermann
                                                       DICELLO LEVITT LLC
                                                       505 20th Street North - Suite 1500
                                                       Birmingham, Alabama 35203
                                                       Tel.: 312-214-7900
                                                       Email: fu@dicellolevitt.com

                                                       Plaintiffs’ Co-Lead Counsel

                                                       Fidelma L. Fitzpatrick
                                                       MOTLEY RICE LLC
                                                       40 Westminster Street, Fifth Floor

2024) (ordering responding party to disclose “sources of ESI it preserved,” “when each ESI source was
used,” “what each source was used for,” and “the general types of information housed or contained in each
source” and reasoning that “courts routinely hold that parties are entitled to know what kinds and categories
of ESI” exists, “the disclosure of information indicating non-custodial sources of the ESI is expected in the
ordinary course of discovery,” and parties must “identify and discuss a list of systems, if any that contain
[non-custodial] ESI.”) (internal quotation marks and citations omitted ) (emphasis added); Inline
Packaging, LLC v. Graphic Packaging Int'l, Inc., No. 15-cv-3183, 2016 WL 7042117, at *8-9 (D. Minn.
July 25, 2016), objections overruled, No. 15-cv-3183, 2016 WL 6534394 (D. Minn. Nov. 2, 2016) (rejecting
the argument that “requested materials dating back to 2000” and “stored on ‘legacy’ computer systems are
difficult and costly to access” when the responding party “has offered no evidence to the Court to support
that assertion” and finding that responding party’s choice to keep “its [electronic] records at fifty-six
domestic and international locations” rather than in a “centralized system” did not demonstrate undue
burden and “shield it from discovery.”); Navajo Nation v. Urb. Outfitters, Inc., No. 12-CV-0195, 2015 WL
11089521, at *2 (D.N.M. June 10, 2015) (rejecting the responding parties’ undue burden argument relating
to ESI because “Defendants fail to specify how many hours such a production would require, or how
expensive it would be.”).

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                                        Providence, Rhode Island 02903
                                        Tel.: 401-457-7700
                                        Email: ffitzpatrick@motleyrice.com

                                        Plaintiffs’ Co-Lead Counsel

                                        Michael A. London
                                        DOUGLAS & LONDON, P.C.
                                        59 Maiden Lane, Sixth Floor
                                        New York, New York 10038
                                        Tel.:212-566-7500
                                        Email: mlondon@douglasandlondon.com

                                        Plaintiffs’ Co-Lead Counsel

                                        Benjamin L. Crump
                                        BEN CRUMP LAW FIRM
                                        122 South Calhoun Street
                                        Tallahassee, Florida 32301
                                        Tel.: 850-224-2020
                                        Email: ben@bencrump.com

                                        Plaintiffs’ Co-Lead Counsel




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